      Case 2:16-cr-00028-WFN      ECF No. 71    filed 07/19/16   PageID.169 Page 1 of 2




1
2
3
4
5
6
7
8                          UNITED STATES DISTRICT COURT

9                       EASTERN DISTRICT OF WASHINGTON

10
     UNITED STATES OF AMERICA,                       No. 2:16-CR-028-JLQ-3
11
12                       Plaintiff,                  ORDER GRANTING MOTION TO
                                                     MODIFY CONDITIONS OF
13
     vs.                                             RELEASE
14
15   SHAWN W. FITZGERALD,

16                       Defendant.
17         Before the Court is Defendant’s Motion to Modify Pretrial Release Condition
18   No. 14, ECF No. 70. Defendant seeks to be able to travel throughout the State of
19   Washington, Idaho, Western Montana and Oregon for employment purposes only.
20   Both the United States and Defendant’s supervising U.S. Probation Officer defer to
21   the Court on the request.
22         IT IS ORDERED that the Defendant’s Motion, ECF No. 70, is GRANTED.
23   Condition No. 14 is modified as follows:
24
            (14) Defendant may travel throughout the State of Washington, Idaho,
25   Montana west of Helena, and Oregon for employment purposes only. Prior to
26   travel, Defendant shall notify the U.S. Probation Office of his departure and his
     contact information. When not travelling for employment purposes, Defendant
27
     shall remain in the Eastern District of Washington while the case is pending. By
28   timely motion clearly stating whether opposing counsel and Pretrial Services object



     ORDER - 1
      Case 2:16-cr-00028-WFN      ECF No. 71   filed 07/19/16   PageID.170 Page 2 of 2




1    to the request, Defendant may be permitted to travel outside this geographical area.

2          IT IS SO ORDERED.
3          DATED July 19, 2016.
4
5                                _____________________________________
                                           JOHN T. RODGERS
6                                 UNITED STATES MAGISTRATE JUDGE
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



     ORDER - 2
